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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 JEAN JONES,                                      §
                         Plaintiff,               §
 v.                                               §
                                                  §
 PORTFOLIO RECOVERY ASSOCIATES,                   §       No. 1:16-CV-00572-RP
 LLC, AND WESTERN SURETY CO.,                     §
                Defendants.                       §

                                              ORDER

         Before the court is Defendant Portfolio Recovery Associates, LLC’s Motion to Exceed

[the] Page Limits (Dkt. #112). The motion and related briefing were referred to the undersigned

for disposition by United States District Judge Robert Pitman pursuant to 28 U.S.C.

§ 636(b)(1)(A), Federal Rule of Civil Procedure 72, and Rule 1(c) of the Local Rules of the United

States District Court for the Western District of Texas. Having reviewed the briefing and the

relevant case law, the undersigned finds the motion should be DENIED as set forth more fully

below.

         I.       Analysis

         Per Local Rule CV-7(e)(2), responses must be filed within 7 days of nondispositive

motions and 14 days after dispositive motions. Local Rule CV 7(e). Here, Plaintiff filed its Motion

for Attorneys’ Fees and Costs on April 4, 2020. Dkt. #108. Defendant did not file its response or

the present motion until May 5, 2020, well over the time requirement depicted above. See Dkt.

#112. Accordingly, the court first notes that Defendant’s Motion to Exceed [the] Page Limit is

untimely.

         Requesting leave to file a 30-page response to Plaintiff’s 12-page motion, Defendant argues

good cause exists “given the importance of this Response and the amount of attorneys’ fees



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requested by Plaintiff’s Counsel.” Id. While local rules state that a response to a dispositive motion

is limited to 20 pages and a response to a nondispositive motion is limited to 10 pages, Local Rule

CV-7(e)(3), courts occasionally permit litigants to exceed the page limit upon showing good cause.

See In re United Markets Int'l, Inc., 24 F.3d 650, 654 (5th Cir. 1994) (“[A] federal district court

has both specific and inherent power to control its docket.”). Here, however, Defendant has neither

articulated good cause for exceeding the page limit nor explained why its motion is untimely.

       Accordingly, the court DENIES Defendant’s Motion to Exceed [the] Page Limit and

ORDERS that Dkt. #113 be struck from the record. Defendant may file a new response that

complies with local rules within 7 days of this Order. Furthermore, Plaintiff may file a reply 7 days

after Defendant’s response is filed.



        SIGNED May 15, 2020
                                          _______________________________
                                          MARK LANE
                                          UNITED STATES MAGISTRATE JUDGE




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